
In re Courrege, William; — Plaintiff(s); Applying for Writ of Certiorari and/or Review; to the Court of Appeal, Third Circuit, Number CA89-1314; Parish of Pointe Cou-pee Eighteenth Judicial District Court Div. “B” Number 21,858.
Prior report: La.App., 572 So.2d 150.
Denied. This court decided in Dill v. State of Louisiana, Department of Transportation and Development, 545 So.2d 994 (La.1989), that when a plaintiff releases a joint tortfeasor prior to trial, the plaintiffs recovery against the remaining joint tort-feasor is reduced by the amount of fault attributable to the released tortfeasor. The reduction by the court of appeal was therefore correct. See La.Civ.Code art. 1803 and 1804.
